                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:21-CV-319-MOC-DCK

 WES JOHNSON, et al.,                                 )
                                                      )
                Plaintiffs,                           )
                                                      )
    v.                                                )    ORDER
                                                      )
 CAROLINA MOTOR CLUB, INC., d/b/a                     )
 AAA CAROLINAS, et al.,                               )
                                                      )
                Defendants.                           )
                                                      )

         THIS MATTER IS BEFORE THE COURT on the “Joint Motion To Stay Proceedings”

(Document No. 24) filed December 1, 2021. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, and in consultation with Judge Cogburn’s

chambers, the undersigned will grant the motion.

         IT IS, THEREFORE, ORDERED that the “Joint Motion To Stay Proceedings”

(Document No. 24) is GRANTED. This matter is stayed pending decision by the United States

Supreme Court in Hughes v. Northwestern University, No. 19-1401, cert. granted (U.S. July 2,

2021).

         IT IS FURTHER ORDERED that the parties shall file a Joint Status Report within

fourteen (14) days of the Supreme Court’s decision in Hughes v. Northwestern University.

         SO ORDERED.

                                Signed: December 1, 2021




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